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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN RE:
                                                CHAPTER 7
AVEUM INVESTMENTS, LLC,
                                                CASE NO. 19-60303-jwc
       Debtor.


                  NOTICE REGARDING INSURANCE EXPENSE

       COMES NOW Cathy L. Scarver, the Chapter 7 Trustee (“Trustee”) for the estate

(“Estate”) of the above stated debtor (“Debtor”), and files this Notice Regarding Insurance

Expense (“Notice”) to supplement her Motion for Approval and Payment of Administrative

Expenses (“Expense Motion”) and respectfully represents to the Court that following the

filing of the Motion, the Trustee learned that Debtor’s current insurance company issued a

non-renewal notice. Further, the Trustee obtained a quote from her insurance company for

her Trustee related matters in the amount of $14,676.00 (annual premium), payable in

installments.

       Respectfully submitted this 10th day of January 2020.

                                          By: /s/ Anna M. Humnicky          _
                                                  Anna M. Humnicky
                                                  Georgia Bar No. 377850
Small Herrin, LLP
2727 Paces Ferry Rd.
Building 2, Suite 200
Atlanta, GA 30339
(P) (770) 783-1800
ahumnicky@smallherrin.com

Counsel for Cathy L. Scarver, Chapter 7 Trustee
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                      UNITED STATES BANKRUPTCY COURT
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IN RE:
                                                  CHAPTER 7
AVEUM INVESTMENTS, LLC,
                                                  CASE NO. 19-60303-jwc
       Debtor.


                             CERTIFICATE OF SERVICE

       I, Anna M. Humnicky, certify that I am over the age of 18 and that: A) on January 10,
2020, I filed and served copies of the Notice Regarding Insurance Expense on behalf of
Cathy L. Scarver, Chapter 7 Trustee, on the parties listed in Exhibit A, by using the
Bankruptcy Court’s Electronic Case Filing program which sends a notice of the above-listed
documents and an accompanying link to the documents to the parties who have appeared in
this case under the Bankruptcy Court’s Electronic Case Filing program, as indicated in
Exhibit A; B) on January 10, 2020, I served copies of the aforementioned document, via
electronic mail, on the parties as indicated in Exhibit A; and C) on January 10, 2020, I served
copies of the aforementioned document, via First Class U.S. Mail, with adequate postage
pre-paid, on the parties as indicated in Exhibit A.

       This 10th day of January 2020.
                                           By:     /s/ Anna M. Humnicky_________
                                                   Anna M. Humnicky
                                                   Georgia Bar No. 377850
Small Herrin, LLP
2727 Paces Ferry Road
Building 2, Suite 200
Atlanta, GA 30339
(770) 857-4770
ahumnicky@smallherrin.com




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                                      EXHIBIT A

Via CM/ECF –

Evan M. Altman on behalf of Debtor Aveum Investments, LLC and Attorney George M.
Geeslin evan.altman@laslawgroup.com;johanna@laslawgroup.com

Lisa F. Caplan on behalf of Creditor U.S. BANK NATIONAL ASSOCIATION
lcaplan@rubinlublin.com,
akhosla@rubinlublin.com;nbrown@rubinlublin.com;mhashim@rubinlublin.com;ruluecf
@gmail.com;BKRL@ecf.courtdrive.com;rmoss@rlselaw.com

Thomas Wayne Dworschak on behalf of U.S. Trustee United States Trustee
thomas.w.dworschak@usdoj.gov, lisa.maness@usdoj.gov;ltctommyd@aol.com

Cathy L. Scarver
trusteescarver@bellsouth.net,
ga06@ecfcbis.com;papc1@bellsouth.net;yolanda_clsa@bellsouth.net

Via Electronic Mail –

Velocity Commercial Capital, LLC, c/o Lisa Caplan, lcaplan@rubinlublin.com

BellSouth Telecommunications, Inc., c/o Angela B. Stewart, as2130@att.com

Millennium Investment Group, LLC, c/o Prakash Parmar, prakash@migatlanta.com

Knight Capital Funding III, LLC, ucc@knightcapitalfunding.com and
legal@knightcapitalfunding.com

Johnny Garcia, c/o The Rouse Firm, law@therousefirm.com

Via First Class U.S. Mail -

Internal Revenue Service
Attn: Lisa D. Smith
401 W. Peachtree St., NW, M/S 334-D
Atlanta, GA 30308-3539




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U.S. Bancorp, d/b/a U.S. Bank, N.A., as Trustee for Velocity Commercial Capital Loan
Trust 2018-1
c/o Andrew Cecere, its Chairman, President & Chief Executive Officer
U.S. Bancorp Center
800 Nicollet Mall
Minneapolis, MN 55402-7014

Quicksilver Capital
161 South Franklin Avenue
Valley Stream, NY 11580




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